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                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

DR. BORIS ODYNOCKI                                     :                    CIVIL ACTION

VERSUS                                                 :                    NO.:

SOUTHERN UNIVERSITY AT                                 :                    JUDGE
NEW ORLEANS; DR. DENNIS J.
SHIELDS, PRESIDENT-                                    :                    MAGISTRATE
CHANCELLOR, SOUTHERN
UNIVERSITY SYSTEM;
DR. JAMES H. AMMONS, JR,
CHANCELLOR OF SOUTHERN                                 :
UNIVERSITY AT NEW ORLEANS
                                       :
******************************************************************************

                                       NOTICE OF REMOVAL

        NOW INTO COURT, through undersigned counsel, come the Defendants, the State of

Louisiana through Southern University at New Orleans (“SUNO”), President Dennis Shields

(improperly referred to as Dr. Dennis Shields), and Dr. James Ammons, Jr. who file this Notice of

Removal on the following grounds, to-wit:

                                        THE REMOVED CASE

                                                     1.

        On or about July 11, 2022 Plaintiff filed this suit in Civil District Court for the Parish of

Orleans, State of Louisiana, captioned Dr. Boris Odynocki v. Southern University at New Orleans,

et al, Docket Number: 22-06112, Division “G. 1 Plaintiff sues under 42 U.S.C. § 1983 asserting

entitlement to damages from Defendants as a result of alleged violations of the United States

Constitution. Plaintiff also asserts claims under Louisiana state law.



1
  See, Exhibit A Original Petition for Damages; see also, Exhibit B Amended Petition wherein Plaintiff further
describes the alleged facts and circumstances surrounding his employment status.


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                                                        2.

        Because Plaintiff’s claims arise under federal law, this Honorable Court has original

jurisdiction under 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights and

elective franchise). To the extent Plaintiff also asserts claims under Louisiana law, these claims

arise out of the same common nucleus of operative facts that underlie the federal law claims. This

Honorable Court has jurisdiction over the aforementioned state law claims pursuant to 28 U.S.C.

§ 1367.

                                                        3.

        28 U.S.C. § 1441, et seq., provide the Defendants with the right to remove the

aforementioned cause of action from Civil District Court for the Parish of Orleans, State of

Louisiana, to the United States District Court for the Eastern District of Louisiana, which embraces

the place where the action is pending.

                                                        4.

        This notice is timely under the provisions of 28 U.S.C. § 1446(b) as it was filed within

thirty (30) days of Defendants’ notice that the case was removable.

                                                   PARTIES

                                                        5.

        On or about July 19, 2022, Defendants SUNO and Dr. Ammons were served with citation

and a copy of Plaintiff’s Petition for Damages. Defendant President Shields (improperly referred

to as Dr. Dennis Shields) was served with citation and a copy of Plaintiff’s Petition for Damages

on August 01, 2022. 2




2
 Exhibit C, Citations as to SUNO, President Dennis Shields (improperly referred to as Dr. Dennis Shields), and Dr.
Ammons.


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                                        REMOVAL IS TIMELY

                                                       6.

        The appearing Defendants show that this notice of removal was timely filed with this Court

pursuant to the provisions of 28 U.S.C. §1446 because it was removed within thirty (30) days after

the service of the Citation and Petition upon the Defendants SUNO, President Dennis Shields

(improperly referred to as Dr. Dennis Shields), and Dr. Ammons. 3

                                                   VENUE

                                                       7.

        The venue of this removal action is proper pursuant to the provisions of 28 U.S.C.

§1441(a), insofar as the United States District Court for the Eastern District of Louisiana embraces

the Civil District Court for the Parish of Orleans, the Court where the instant action is currently

pending.

                                        NOTICE OF REMOVAL

                                                       8.

        Notice of the filing of this Removal is being given to the adverse party, as required by law.

                                                       9.

        A true copy of this Notice of Removal is being filed with the Clerk of Court for Civil

District Court for the Parish of Orleans, State of Louisiana, as required by law.

                                                      10.

        Defendants, SUNO, President Dennis Shields (improperly referred to as Dr. Dennis

Shields), and Dr. Ammons, hereby remove this case from Civil District Court for the Parish of




3
  All Defendants reserve the right to raise the defense of improper service for any party not properly served, in
accordance with the rules of Federal Civil Procedure and Louisiana law.


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Orleans, to the United States District Court for the Eastern District of Louisiana for further

disposition.



                                           Respectfully submitted,


                                            JEFF LANDRY
                                            ATTORNEY GENERAL

                                    BY:     /s/ Christopher J. Rouse
                                            CHRISTOPHER J. ROUSE (32668)
                                            ASSISTANT ATTORNEY GENERAL
                                            LOUISIANA DEPARTMENT OF JUSTICE
                                            LITIGATION DIVISION
                                            1450 Poydras Street, Suite 900
                                            New Orleans, Louisiana 70112
                                            Telephone No.: (504) 599-1200
                                            Facsimile No.: (504) 599-1212
                                            E-Mail: rousec@ag.louisiana.gov
                                            Counsel for Defendants SUNO, President Shields
                                            and Dr. Ammons

                                                           &

                                    BY:     /s/ Brandon DeCuir____________
                                            BRANDON DECUIR (28014)
                                            MONICA GANT MOTON (27222)
                                            DeCUIR, CLARK & ADAMS, LLP
                                            732 North Boulevard
                                            Baton Rouge, LA 70802
                                            Telephone No.: (225) 346-8716
                                            Facsimile No.: (225) 336-1950
                                            Email: brandon@decuirlaw.com
                                            Email: mmoton@decuirlaw.com
                                            Counsel for Defendants SUNO, President Shields,
                                            and Dr. Ammons



                           [certificate of service on following page]




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing Notice of Removal will be filed with the Civil

District Court, Parish of Orleans, State of Louisiana on the 17 day of August, 2022.

       I FURTHER CERTIFY that on the 17 day of August, 2022 the foregoing Notice of

Removal was provided to Plaintiff via U.S. First Class Mail as follows:



Dr. Boris Odynocki
Pro Se
234 Goldenwood Dr.
Slidell, LA 70461



                              s/   Christopher J. Rouse
                              CHRISTOPHER J. ROUSE (32668)
                             ASSISTANT ATTORNEY GENERAL




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